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                                                      U.S. Department of Justice


                                                      United States Attorney
                                                      Eastern District of New York
F. #2016R00467                                        271 Cadman Plaza East
AES/DGR/DAS                                           Brooklyn, New York 11201



                                                      March 10, 2023

By ECF

The Honorable Margo K. Brodie
Chief United States District Judge
United States District Court
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Ng Chong Hwa
                       Criminal Docket No. 18-538 (S-2) (MKB)

Dear Judge Brodie:

               The government submits this letter in response to the Court’s request on March 9,
2023, at the sentencing of the defendant Ng Chong Hwa, for additional briefing in support of the
government’s request for the Court to order forfeiture as part of the defendant’s sentence. (See
Proposed Order of Forfeiture (ECF No. 228) and Government Sentencing Memorandum (ECF
No. 229) at 51-56).

                As set forth in the government’s prior filings, the PSR and herein, forfeiture is
mandatory in this case as provided by statute, and is warranted in the amount of the defendant’s
ill-gotten gains from the scheme, which the government proved at trial by at least a
preponderance totaled $35.1 million. (Id.; PSR ¶¶ 159-60). Because the forfeiture to be imposed
serves an entirely different purpose than restitution, the restitutive payments received by 1MDB
to date do not offset the mandatory forfeiture to be imposed here, and the Court should enter the
proposed order of forfeiture in full.
I.     Legal Standard
                It is well settled that forfeiture is a mandatory part of sentence where the
defendant is convicted of a statute that carries a corresponding forfeiture provision. Pursuant to
Title 28, United States Code, Section 2461(c) and Title 18, United States Code, Section 982, if a
defendant is convicted of an offense giving rise to forfeiture, the court shall order the forfeiture
of the property as part of the sentence in the criminal case. See United States v. Monsanto, 491
U.S. 600, 607 (1989) (“Congress could not have chosen stronger words to express its intent that
forfeiture be mandatory in cases where the statute applied...”); United States v. Viloski, 814 F.3d
104, 111 n.11 (2d Cir. 2016) (noting that, “as long as the factual predicate for the application of
[Title 18, United States Code, Section 982 and Title 28, United States Code, Section 2461(c)]

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has been satisfied, therefore, a district court has no discretion not to order forfeiture in the
amount sought.”); United States v. Bonventre, 2011 WL 1197853, *4 (S.D.N.Y. Mar. 30, 2011)
(§ 2461(c) makes forfeiture mandatory in criminal cases). Further, the court has no discretion as
to whether to impose forfeiture once the proper nexus has been shown. See United States v.
Blackman, 746 F.3d 137, 143 (4th Cir. 2014) (§ 2461(c) makes criminal forfeiture mandatory in
all cases; “The word ‘shall’ does not convey discretion . . The plain text of the statute thus
indicates that forfeiture is not a discretionary element of sentencing. . . . Insofar as the district
court believed that it could withhold forfeiture on the basis of equitable considerations, its
reasoning was in error.”).
                Rule 32.2(b)(1)(A) of the Federal Rules of Criminal Procedure provides that if the
government seeks a personal money judgment, the court must determine the amount of money
that the defendant will be ordered to pay. See Fed. R. Crim. P. 32.2(b)(1)(A). Courts in the
Second Circuit have routinely imposed forfeiture money judgments pursuant to 18 U.S.C.
§§ 981(a)(1)(C) and 982(a)(1). See, e.g., United States v. Marsh, Nos. 10–CR–0480, 10–CR–
0697, 10–CR–0700, 10–CR–0800, 10–CR–0801, 2011 WL 5325410 (E.D.N.Y. Oct. 26, 2011)
(Weinstein, J.); United States v. Dipascali, No. 09 Cr. 764, 2010 WL 9002774 (S.D.N.Y.
June 18, 2010); United States v. Capoccia, No. 1:03-CR-35-01, 2009 WL 2601426 (D. Vt.
Aug. 19, 2009), aff’d, 402 Fed. Appx. 639 (2d Cir. 2010). Any unpaid amount that remains
outstanding may be reduced to an in personam forfeiture money judgment. United States v.
Awad, 598 F.3d 76, 78 (2d Cir. 2010) (“W]hen a defendant lacks the assets to satisfy the
forfeiture order at the time of sentencing, the money judgment [against the defendant] is
effectively an in personam judgment in the amount of the forfeiture order . . .”) (internal
quotation marks omitted); United States v. Kalish, 626 F.3d 165, 168-69 (2d Cir. 2010) (same);
United States v. Roberts, 696 F. Supp. 2d 263, 268 (E.D.N.Y. 2010) (Irizarry, J.) (same), aff’d
and forfeiture order vacated on other grounds, 660 F.3d 149, 168 (2d Cir. 2011).
                In contrast to the guilt phase of the criminal trial, the government bears the burden
of establishing the amount of money subject to forfeiture only by a preponderance of the
evidence. See Capoccia, 503 F.3d at 116 (sentencing courts determine forfeiture amounts by a
preponderance of the evidence); United States v. Bellomo, 176 F.3d 580, 595 (2d Cir. 1999)
(upholding trial court’s application of preponderance standard on grounds that criminal forfeiture
is part of sentencing). The government is not required to provide a precise calculation of the
amount of money a defendant must forfeit. United States v. Treacy, 639 F.3d 32, 48 (2d Cir.
2011). Instead, the money judgment amount can be reasonably estimated based upon evidence
already in the record, and on any additional evidence or information submitted by the parties and
accepted by the court as relevant and reliable. See United States v. Capoccia, 503 F.3d 103,109
(2d Cir. 2007); United States v. Roberts, 660 F.3d 149, 166 (2d Cir. 2011) (“district courts may
use general points of reference as a starting point for a forfeiture calculation and ‘make
reasonable extrapolations’ supported by a preponderance of the evidence”).
                Notably, criminal forfeiture “serves no remedial purpose, [and] is designed to
punish the offender . . . .” United States v. Contorinis, 692 F.3d 136, 146 (2d Cir. 2012). It is
well-settled in the Second Circuit that forfeiture is a mandatory obligation of a defendant at
sentencing that is entirely separate from restitution, which is also mandatory. Kalish, 626 F.3d at
169 (“We see no infirmity in the District Court’s imposition of both a forfeiture remedy and a
restitution remedy. These remedies are authorized by separate statutes, and their simultaneous


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imposition offends no constitutional provision.” (emphasis omitted)); see also United States v.
Bengis, 631 F.3d 33, 41 (2d Cir. 2011) (same) (quoting Kalish); United States v. Torres, 703
F.3d 194, 203 (2d Cir. 2012) (“[F]orfeiture and restitution statutes serve different purposes. . . .
Restitution is loss based, while forfeiture is gain based.” (citations omitted)). Accordingly,
courts must impose forfeiture as part of the defendant’s sentence, separate and apart from any
restitution that is awarded to victims. See United States v. Bodouva, 853 F.3d 76, 78–79 (2d Cir.
2017) (“District courts are bound not to reduce the amount of a mandatory criminal forfeiture
order by the amount of past or future restitution payments, in the absence of specific statutory
authorization to do so.”).
II.    Evidentiary and Legal Basis for the Government’s Proposed Order of Forfeiture
               The evidence at trial, as detailed in the government’s sentencing submission (see
ECF No. 229 at 4-31), established that the defendant illegally obtained at least $35.1 million
from his involvement in the scheme. The defendant was convicted at trial of the following
crimes: conspiracy to violate the FCPA’s anti-bribery provisions, in violation of 18 U.S.C.
§ 371(Count One); conspiracy to violate the FCPA’s internal controls provisions, in violation of
18 U.S.C. § 371 (Count Two); and conspiracy to commit money laundering, in violation of 18
U.S.C. § 1956(h) (Count Three). Forfeiture is mandatory in this case since the counts of
conviction carry mandatory corresponding forfeiture provisions under the law. As a result of the
defendant’s conviction of 18 U.S.C. § 371, the defendant must forfeit any property, real or
personal that constitutes or is derived from proceeds traceable to such violation, pursuant to 18
U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c). As a result of the defendant’s conviction of 18
U.S.C. § 1956(h), the defendant must forfeit any property, real or personal, involved in money
laundering, or any property traceable to such property, pursuant to 18 U.S.C. § 982(a)(1).
                Pursuant to Title 21, United States Code, Sections 853(a) and 853(p), if any of the
above-described forfeitable property, as a result of any act or omission of the defendant:
(a) cannot be located upon the exercise of due diligence; (b) has been transferred or sold to, or
deposited with, a third party; (c) has been placed beyond the jurisdiction of the Court; (d) has
been substantially diminished in value; or (e) has been commingled with other property which
cannot be divided without difficulty, the defendant is liable to forfeit substitute assets.
                As a result, the government has submitted a proposed Order of Forfeiture
pursuant to Rule 32.2 of the Federal Rules of Criminal Procedure, which provides for the entry
of a forfeiture money judgment in the amount of Thirty-Five Million One Hundred Thousand
Dollars and Zero Cents ($35,100,000.00), as: (a) property, real or personal, that constitutes or is
derived from, proceeds obtained directly or indirectly as a result of the defendant’s violations of
18 U.S.C. § 371, pursuant to 18 U.S.C. § 981(a)(1)(C) and 28 U.S.C. § 2461(c); (b) property,
real or personal, involved in the defendant’s violation of 18 U.S.C. § 1956(h), or any property
traceable to such property, pursuant to 18 U.S.C. § 982(a)(1); and/or (c) substitute assets,
pursuant to 21 U.S.C. § 853(p), as incorporated by 18 U.S.C. § 982(b)(1). (See ECF No. 228).
III.   The Forfeiture Amount Should Not Be Offset Against Any of the 2018 Restitutive
       Payments Made to 1MDB
              In his sentencing submission and at the sentencing hearing, the defendant has
asked the Court not to impose forfeiture, claiming that the monies he obtained from the scheme


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were already returned to Malaysia. In fact, as set forth below, funds seized from accounts in the
names of the defendant’s family members were returned to 1MDB and, consistent with binding
Second Circuit precedent, any such remunerative payments—past or future—cannot offset the
mandatory forfeiture to be imposed in this case.
               As relevant background, prior to October 2018, in the course of its investigation
into the misappropriation of assets from 1MDB, Singapore—and not Malaysia—seized multiple
bank accounts in Singapore held in the name of the defendant’s relatives. On October 30, 2018,
the defendant’s wife, mother-in-law, and brother-in-law signed statutory declarations under
Singaporean law concerning these seized accounts. In the declarations, each consented to
Singapore liquidating and transferring the assets in the accounts “to account(s) as may be
determined by 1Malaysia Development Berhad.” (Statutory Decl., Def. Sentencing App’x,
Ex. 1, ECF No. 225-1). The government confirmed with Singapore today that, in total, SGD41
million (approximately $29.6 million as of October 30, 2018) was liquidated and transferred to
1MDB in accordance with the statutory declarations.
                 The defendant claims that this remuneration back to 1MDB negates his forfeiture
obligation to the United States because the transfers pursuant to the statutory declarations were
“forfeitures” to Malaysia. In advancing this argument, the defendant fails to acknowledge that
the transfers were in fact made to 1MDB, rather than to Malaysian law enforcement or judicial
authorities. Contrary to the defendant’s contention, those transfers are properly considered
restitution, not forfeiture. As reflected in the statutory declarations produced by the defendant,
the defendant’s family members agreed that the seized assets would be released by Singapore
back to 1MDB, the entity from which the money was embezzled—and that is, in fact, what
happened. 1 The direct transfer of money back to 1MDB demonstrates that these payments were
properly understood as restitution to make the victim whole, not as a penalty that Singapore or
Malaysia imposed on the defendant. See Torres, 703 F.3d at 203 (“From this defendant’s
perspective, an order of forfeiture may not feel much different from an order of restitution,
because both orders contemplate cash payments in similar amounts. But as the Seventh Circuit
has lucidly observed, ‘Restitution is loss based, while forfeiture is gain based.’”). Notably, had
the assets been forfeited by Singapore, they would have been deposited, at least in the first
instance, by the Singaporean government in the country’s Consolidated Fund, rather than paid to
1MDB. The government understands that the funds were not deposited into Singapore’s
Consolidated Fund. This is similar to the practice in the United States, where forfeiture proceeds
are deposited into a dedicated forfeiture fund; restitution payments are treated differently.


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                The statutory declarations do not provide a specific accounting of what assets—
either traceable to 1MDB or otherwise—were in those eleven accounts at the time that the
statutory declarations were signed. Nor does the defendant provide any other documentation or
evidence in support of his claims. And while the government has confirmed with Singapore the
total value of the assets in those accounts at the time that they were liquidated and returned to
1MDB, it also does not have an accounting from either Singapore or Malaysia of what those
assets were at the time, or what percentage constituted funds actually traceable to funds stolen
from 1MDB that were transferred to the defendant as payment for his participation in the
charged criminal conspiracies in 2012 and 2013.



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         Once the transfers of assets from Singapore back to 1MDB are properly understood as
restitution, the inability to deduct them from a mandatory forfeiture in the United States is clear.
“[R]estitution and forfeiture are creations of distinct statutes,” and “mandatory criminal
forfeiture amounts may not be reduced by the amount of restitution in the absence of specific
statutory authorization for such an offset.” Bodouva, 853 F.3d at 79; see also United States v.
Peters, 732 F.3d 93, 101 (2d Cir. 2013) (“Criminal forfeiture is a form of punishment. As such,
it is distinct from restitution or other remedial actions, which are intended to return the victim
and the perpetrator to the status quo that existed before the violation took place.”); Contorinis,
692 F.3d at 146 (explaining that forfeiture serves a punitive purpose, not a remedial one); United
States v. Pescatore, 637 F.3d 128, 137 (2d Cir. 2011) (forfeiture and restitution are separate
remedies with different purposes; defendant was not entitled to have government apply $2.5
million in forfeited funds to a $3 million restitution order); United States v. Newman, 659 F.3d
1235, 1241-43 (9th Cir. 2011) (holding that because forfeiture and restitution serve different
purposes—one for punishment, the other to make the victim whole—defendant must pay both
and that the district court may not reduce forfeiture because of an order of restitution to a victim
or because the victim already has been made whole); United States v. Browne, 505 F.3d 1229,
1281 (11th Cir. 2007) (holding that defendant was not entitled to credit against forfeiture for
amount paid to victim as voluntary restitution; under relation back doctrine, government has a
vested interest in proceeds that is unaffected by defendant’s payment of restitution); United
States v. Hoffman-Vaile, 568 F.3d 1335, 1345 (11th Cir. 2009) (following Browne; doctor
convicted of Medicare fraud not entitled to offset forfeiture to reflect restitution she has already
paid to victims); United States v. Wiese, No. 09–20414, 2012 WL 43369, at *3 (E.D. Mich. Jan.
9, 2012) (forfeiture is not limited to victims’ net loss; where defendant defrauded banks, he is
liable to forfeit gross proceeds of fraud with no offset for amount banks were able to recover by
foreclosing on real property); United States v. Graham, No. 5:06-00025, 2007 WL 895239, at *2
(S.D. W. Va. Mar. 22, 2007) (because forfeiture and restitution serve different purposes, that
defendant has already repaid his victim “is irrelevant to the court’s obligation to impose an order
of forfeiture, whose purpose is not to make the victim whole, but to punish a defendant”). There
is also no specific statutory authorization to provide an offset here. See 18 U.S.C. §§ 981, 982.
Moreover, the defendant himself concedes that his family relinquished the funds not simply as
punishment, but as a payment made in exchange for substantial, tangible benefit in return: that
the defendant and his family would avoid criminal prosecution in Malaysia and Singapore. Def.
Sentencing Mem. at 46 (“[I]n exchange for forfeiting the 1MDB funds as well as the funds not
derived from 1MDB, neither Malaysia (the country from which the funds were misappropriated)
nor Singapore (the country in which the bank accounts were present) would bring criminal
charges against anyone, that travel bans would be lifted and that bank accounts would be
unfrozen.”). Accordingly, the defendant’s forfeiture amount should remain $35.1 million.

                  Even if the payments by the defendant and his family members could be treated as
forfeiture, it is nevertheless appropriate to impose the full $35.1 million forfeiture amount. The
doctrine of dual sovereignty permits the federal government to impose a money judgment for the
full amount of a defendant’s ill-gotten gains from the offenses of conviction even if another
sovereign—like a state or a foreign government—has also sought forfeiture based upon the same
underlying conduct. See United States v. Williams, 519 F. App’x 303, 304 (5th Cir. 2013)
(doctrine of dual sovereignty allows federal court to impose money judgment without any offset
for forfeiture ordered by state court based upon same conduct). Sentencing the defendant to the
$35.1 million forfeiture amount is appropriate given that the United States and Malaysia, as


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independent sovereigns, have separate and distinct justifications for the imposition of the full and
just punishment for the defendant’s criminal conduct. 2
IV.    Conclusion
                For the foregoing reasons, the Court should enter a forfeiture money judgment in
the amount of $35.1 million against the defendant. As the Court orally pronounced a general
order of forfeiture as part of the defendant’s sentence at the defendant’s sentencing hearing on
March 9, 2023 (and noted that it would be in an amount up to $35.1 million), the government
requests that the Court now find the specific forfeiture in this case is $35.1 million, enter the
proposed order of forfeiture (ECF No. 228), and attach that order to the defendant’s judgment of
conviction.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                              By:            /s/
                                                     Alixandra E. Smith
                                                     Drew G. Rolle
                                                     Dylan A. Stern
                                                     Tanisha R. Payne
                                                     Assistant U.S. Attorneys

                                                     BRENT WIBLE
                                                     Chief, Money Laundering and
                                                            Asset Recovery Section
                                                     Department of Justice

                                                     GLENN LEON
                                                     Chief, Fraud Section
                                                     Department of Justice


cc:    Clerk of the Court (MKB) (by email and ECF)
       Counsel for the defendant (by email and ECF)



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                Even if the defendant’s suggested offsets were legally proper, which they are not,
he would still owe substantial forfeiture. First, the funds returned to 1MDB pursuant to the
statutory declarations were only SGD41 million ($29.6 million), $5.5 million less than the
defendant’s ill-gotten gains. Second, and more importantly, because forfeiture is properly
considered punishment, funds contributed by family members are irrelevant. Here, the defendant
acknowledges that only $2,020,829.16 of the money returned to Malaysia pursuant to the
statutory declarations were his own “personal funds.” See Defendant’s PSR Objections at 16.



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